50 F.3d 7
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael W. OWENS, Plaintiff--Appellant,v.K. BOOKER, Corrections Officer;  D. Williams, CorrectionsOfficer;  Michael A. Shupe, Grievance Coordinator;M. Warden, Regional Ombudsman, NorthernRegion;  Edward W. Murray,Defendants--Appellees.
    No. 94-7282.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Jan. 19, 1995.Decided:  Feb. 17, 1995.
    
      Michael W. Owens, Appellant Pro Se.  Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, VA, for Appellees.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders dismissing his civil action and denying his motion to alter or amend judgment.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Owens v. Booker, No. CA-93-874-R (W.D.Va. Sept. 17, 1994;  Oct. 31, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    